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 9                                UNITED STATES DISTRICT COURT
10                             SOUTHERN DISTRICT OF CALIFORNIA
11
12    ALLEN HARVEY ABOLAFIA,                       Case No. 19-cv-01923-W-KSC
                                                   Judge: Hon. Thomas J. Whelan
13                       Plaintiff,
                                                   DEFENDANT OMNI HOTELS
14              v.                                 MANAGEMENT CORPORATION’S
                                                   MEMORANDUM OF POINTS AND
15    OMNI HOTELS MANAGEMENT                       AUTHORITIES IN OPPOSITION TO
      CORPORATION; and DOES 1 TO                   PLAINTIFF ALLEN HARVEY
16    20, inclusive,                               ABOLAFIA’S MOTION FOR
                                                   SUMMARY JUDGMENT
17                       Defendants.
                                                   Date: July 20, 2020
18                                                 Dept.: Courtroom 3C (3rd Floor)
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 1            Defendant Omni Hotels Management Corporation (“Omni”) respectfully
 2   submits the following memorandum of points and authorities in opposition to
 3   Plaintiff Allen Harvey Abolafia’s (“Plaintiff”) motion for summary judgment.
 4                                                 I.
 5                                       INTRODUCTION
 6            This action arises out of a slip and fall injury that occurred while Plaintiff, an
 7   avid golfer and longtime member of the Club at La Costa, was golfing on the South
 8   Course of the Omni La Costa Resort and Spa. In August 2018, Plaintiff drove his
 9   golf cart over a concrete bridge located on the golf cart path between the sixth hole
10   and seventh tee box, a bridge that Plaintiff had previously crossed nearly 100 times
11   since it was constructed in May 2017. Rather than cross the entire bridge to park his
12   golf cart, Plaintiff parked the cart near the bottom of the downward slope of the bridge
13   and exited the cart in that location. After retrieving his club from the back of the cart,
14   Plaintiff proceeded to walk toward the seventh hole. Without looking down to see
15   where he was stepping, Plaintiff stepped over the curb of the golf cart path and landed
16   his foot in the culvert and sustained a torn Achilles tendon.
17            Instead of accepting any responsibility for his injury, Plaintiff filed suit against
18   Omni in state court in April 2019, alleging claims for negligence and premises
19   liability and seeking $500,000 in damages. (Doc. 1-2, Ex. A at 4-5; Green Decl., Ex.
20   A at 9:2-5.) Omni subsequently removed the action to this Court in October 2019,
21   based on diversity jurisdiction. (Doc. 1 ¶¶ 4-6.)
22            In its First Amended Answer, which was filed in late April 2020, Omni asserts
23   six affirmative defenses: (1) contractual assumption of risk, (2) primary assumption
24   of risk, (3) comparative negligence, (4) no liability for third parties, (5) waiver, and
25   (6) release. (Doc. 12.) Contrary to the arguments in his motion, Plaintiff is not entitled
26   to judgment as a matter of law regarding any of Omni’s affirmative defenses.
27            With regard to Omni’s contractual assumption of risk, waiver, and release
28   defenses, the Club at La Costa’s rules and regulations include a release, under which
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 1   any member who uses the golf course does so “at his/her own risk” and must
 2   “indemnify, defend and hold harmless” Omni “from any and all loss, cost, claim,
 3   injury, damage or liability sustained or incurred by him/her, resulting there from
 4   and/or resulting from any act or omission of [Omni], … or arising out of or incident
 5   to … use of the [golf course].” (Green Decl., Ex. C, Ex. 5 at 29-30, Art. VII.) Plaintiff
 6   attempts to circumvent the release by claiming that he did not sign his membership
 7   application when he joined the Club. Regardless of whether his signature appears on
 8   the application, Plaintiff’s mere membership in the Club, and his acceptance of the
 9   benefits thereof, binds him to the Club’s rules and regulations, including the release
10   therein. Plaintiff also confirmed at his deposition that he understood, as a member of
11   the Club, he was subject to its rules and regulations. Moreover, even assuming
12   arguendo Plaintiff’s signature was required, which it is not, the declaration of
13   Omni’s handwriting expert, who has concluded the signature on the application
14   more likely than not belongs to Plaintiff, creates a genuine issue of material fact
15   that precludes the entry of summary judgment.
16            As to Omni’s primary assumption of the risk defense, traversing the
17   topographical features of a golf course, including the golf cart path, the terrain
18   adjacent to the path, and bridges, is an inherent risk in golf. Plaintiff’s sole argument
19   regarding primary assumption of the risk is that he was merely walking at the time
20   of his injury. Contrary to Plaintiff’s argument, not only was Plaintiff playing golf
21   when he was injured, but walking from a golf cart parked on the cart path to the tee
22   box is also an inherent part of golf.
23            With regard to Omni’s remaining defenses, Plaintiff quibbles with Omni’s use
24   of the word “barred” in its comparative negligence defense and takes issue with the
25   absence of further facts to support its third party defense. Plaintiff’s contentions are
26   meritless. As to the former, Plaintiff’s motion confirms his understanding of the
27   comparative negligence defense and the manner in which the defense applies.
28   Regarding the latter, Omni needs additional time to complete discovery, which
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 1   includes the upcoming deposition on July 22, 2020, of the “person most
 2   knowledgeable” of the designer and builder of the bridge. As further detailed below,
 3   the Court therefore should deny Plaintiff’s motion in its entirety.
 4                                               II.
 5                                  BACKGROUND FACTS
 6            A.        PLAINTIFF’S LA COSTA MEMBERSHIP
 7            Omni owns the Club at La Costa (“Club”) in the City of Carlsbad in northern
 8   San Diego County. (Green Decl., Ex. B at 2:12-13, No. 2; Green Decl., Ex. C, Ex. 3
 9   at 1; Irwin Decl. ¶ 3.) The Club offers golf, tennis, health, fitness, and social facilities
10   and activities with the La Costa Resort & Spa. (Green Decl., Ex. C, Ex. 3 at 1; Irwin
11   Decl. ¶ 3.) The Club’s golf facilities include two championship 18-hole golf courses,
12   the North Course and the South Course, which are respectively known as the
13   Champions and Legends Courses. (Green Decl., Ex. C, at 34:10-16, Ex. 3 at 1; Irwin
14   Decl. ¶ 3.)
15            In or about late January 2007, Plaintiff applied for and obtained a Signature
16   Membership at the Club, which was accompanied by payment of a $15,000 deposit.
17   (Green Decl., Ex. C, at 15:22-16:7, 16:24-17:5, 22:15-23:1, 25:7-13, 26:3-6, Ex. 2 at
18   3, Ex. 3 at 9, Ex. 4 at 4; Irwin Decl., Exs. A-E; Irwin Decl. ¶ 6; see also Doc. 13-1 at
19   2:8 (noting Plaintiff is a “dues paying member … of La Costa”). In or about early
20   August 2007, Plaintiff upgraded his membership, which required payment of an
21   additional $33,500 deposit. (Irwin Decl. ¶ 9, Ex. F.)
22            Among other privileges, Plaintiff enjoys the use of the Club Facilities, which
23   generally consist of the two golf courses, tennis courts, the health and fitness center,
24   and swimming pools. (Green Decl., Ex. C, Ex. 3 at 1, 4; Irwin Decl. ¶ 10.) Plaintiff
25   is an avid golfer and estimates playing golf at the Club at least two times per week
26   when he is in town. (Green Decl., Ex. C at 14:25-15:10; 33:17-34:8 (estimating
27   Plaintiff played 500 rounds of golf at the Club from 2007 to 2017).) As a member,
28   Plaintiff also testified at his deposition that he enjoys paying no green fees and no
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 1   fees for a locker, golf cart, or bag storage. (Green Decl., Ex. C at 18:18-19:1,19:9-
 2   20:4, 22:1-7.)
 3            Plaintiff’s membership at the Club is governed by various membership
 4   documents, which include the Club’s Signature Membership Plan (“Membership
 5   Plan”), and the Amended and Restated Rules and Regulations (“Rules and
 6   Regulations”). (Irwin Decl. ¶ 10; Green Decl., Ex. C, Exs. 3, 5.) As addressed in
 7   detail infra, the Rules and Regulations contain a release and assumption of risk
 8   provision. (Green Decl., Ex. C, Ex. 5 at 29-30, Art. VII.)
 9            B.        PLAINTIFF’S INJURY ON THE LEGENDS COURSE
10            Situated on the golf cart path between the sixth hole and the seventh tee box
11   of the Legends Course is an arched concrete bridge that crosses over a culvert. (Irwin
12   Decl. ¶ 11, Ex. G.) Construction of the bridge was completed in early May 2017,
13   after the prior wooden bridge washed out in a storm earlier that year. (Green Decl.,
14   Ex. C at 34:24-35:18, Ex. 6; Irwin Decl. ¶ 11.)
15            On August 29, 2018, Plaintiff was playing golf on the Legends Course with a
16   group of four other golfers. (Green Decl., Ex. C at 41:5-17, 41:25-42:6, 53:20-54:14,
17   Exs. 8-11.) During the game, Plaintiff drove his golf cart on the golf cart path over
18   the bridge located between the sixth hole and the seventh tee box for the 92nd time.1
19   (Green Decl., Ex. C at 50:21-51:3, Ex. 11.) Rather than drive across the entire bridge
20   to park his golf cart, Plaintiff parked his cart at the bottom of the downward slope of
21   the bridge. (Green Decl., Ex. C at 77:12-21, Ex. 11 at 2-3.)
22            Upon exiting his golf cart, Plaintiff walked to the back of the cart to retrieve a
23   golf club. (Green Decl., Ex. C at 61:2-7.) Despite still being on the bridge at that
24   time, Plaintiff walked around the back of the golf cart to head toward the seventh tee
25
26   1
           Following the construction of the bridge in early May 2017, Plaintiff played
27   golf on the Legends Course on 91 occasions between May 11, 2017, and August 28,
     2018, the day before the incident in question occurred. (Green Decl., Ex. C at 48:23-
28   49:16, Ex. 10.)
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 1   box. (Green Decl., Ex. C at 60:21-23, 63:6-10.) Plaintiff then stepped straight over
 2   the curb of the golf cart path and into the culvert that traverses under the bridge.
 3   (Green Decl., Ex. C at 63:6-19, 65:10-12, 77:12-78:4, 93:23-94:21, 102:20-103:11,
 4   Ex. 11 at 3, Ex. 13 at A-9, A-14.)
 5            At his deposition, Plaintiff testified that he was not looking down when he
 6   stepped over the curb; rather, his eyes were directed at the tee box. (Green Decl., Ex.
 7   C at 64:20-65:1, 103:11-15.) When shown a photograph taken at the time of the
 8   incident, Plaintiff also admitted that the area of the culvert in which he stepped was
 9   “absolutely” visible. (Green Decl., Ex. C at 111:19-22.) Once Plaintiff’s foot landed
10   in the culvert, Plaintiff testified that his foot “got caught between the bridge and the
11   ground …[,]” which resulted in Plaintiff tearing his left Achilles tendon. (Green
12   Decl., Ex. C at 66:2-25, Ex. 11 at 2; Green Decl., Ex. A at 3:25-28.)
13                                              III.
14                                   LEGAL STANDARD
15            “A party may move for summary judgment, identifying each claim or defense
16   – or the part of each claim or defense – on which summary judgment is sought.” Fed.
17   R. Civ. P. 56(a). Summary judgment is appropriate where “there is no genuine issue
18   as to any material fact and the movant is entitled to judgment as a matter of law.”
19   Fed. R. Civ. P. 56(a).
20            The moving party bears the initial burden of demonstrating the absence of any
21   genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
22   Once the moving party satisfies its burden, the nonmoving party cannot rest on the
23   mere allegations or denials of his pleading, but must “go beyond the pleadings and
24   by [its] own affidavits, or by the ‘depositions, answers to interrogatories, and
25   admissions on file’ designate ‘specific facts showing that there is a genuine issue for
26   trial.’” Id. at 324. Moreover, “[e]ven if the standards of Rule 56 are met, a court has
27   discretion to deny a motion for summary judgment if it believes that ‘the better course
28   would be to proceed to a full trial.’” Firman v. Life Ins. Co. of North America, 684
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 1   F.3d 533, 538 (5th Cir. 2012) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.
 2   242, 255 (1986)).
 3                                              IV.
 4                                       ARGUMENT
 5            A.        PLAINTIFF IS NOT ENTITLED TO JUDGMENT AS A
                        MATTER OF LAW ON OMNI’S CONTRACTUAL
 6                      ASSUMPTION OF THE RISK DEFENSE
 7            “Express assumption occurs when the plaintiff, in advance, expressly consents
 8   ... to relieve the defendant of an obligation of conduct toward him, and to take his
 9   chances of injury from a known risk arising from what the defendant is to do or leave
10   undone.” Saenz v. Whitewater Voyages, Inc., 226 Cal. App. 3d 758, 764 (1990)
11   (internal citations omitted). “‘A valid release precludes liability for risks of injury
12   within the scope of the release.’” Anderson v. Fitness Int’l, LLC, 4 Cal. App. 5th 867,
13   877 (2016) (internal citations omitted).
14            “While often referred to as a defense, a release of future liability is more
15   appropriately characterized as an express assumption of the risk that negates the
16   defendant’s duty of care, an element of the plaintiff’s case.” Eriksson v. Nunnink,
17   233 Cal. App. 4th 708, 719 (2015); see also CACI 451 (jury instruction for
18   contractual assumption of risk defense). “‘The result is that the defendant is
19   relieved of legal duty to the plaintiff; and being under no duty, he cannot be charged
20   with negligence.’”2 Eriksson, 233 Cal. App. 4th at 719 (italics and internal
21   quotation marks omitted).
22            Plaintiff’s motion principally attacks Omni’s express assumption of the risk
23   defense on the basis that Plaintiff purportedly did not sign his membership
24
     2
            Plaintiff’s motion erroneously suggests that Omni’s contractual assumption of
25
     risk defense equates to secondary assumption of risk. (Doc. 13-1 at 1:9-12.) “‘[C]ases
26   involving express assumption of risk are concerned with instances in which, as the
27   result of an express agreement, the defendant owes no duty to protect the plaintiff
     from an injury-causing risk.” Eriksson, 233 Cal. App. 4th at 719. The defense is
28   therefore “‘analogous to primary assumption of risk.’” Ibid.
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 1   application when he joined the Club in January 2017. (Doc. 13-1 at 4:19-5:10.)
 2   According to Plaintiff, the defense is “dependent on a signed, admissible
 3   contract[,]” and “Omni [] has no signed contract or witness to support” such
 4   defense. (Id. at 4:28-5:1, 5:7-8.) Contrary to Plaintiff’s unsubstantiated assertions,
 5   no signature was required to bind Plaintiff to the release contained in the Rules and
 6   Regulations. Moreover, even if a signature was required, which it is not, the
 7   declaration of Omni’s handwriting expert creates a genuine issue of material fact
 8   that precludes the entry of summary judgment.3
 9                      1.    Mere Membership In A Club Binds A Member To The Club’s
                              Rules and Regulations, Including A Release Therein.
10
11            It is well-settled that the relationship between a club and its members, like
12   that between the Club at La Costa and Plaintiff, is contractual in nature, and that
13   the rules, regulations, and bylaws of such clubs establish the terms of such
14   contracts. Cobb v. Ironwood Country Club, 233 Cal. App. 4th 960, 965 (2015);
15   Pollock v. Crestview Country Club Ass’n, 41 Kan. App. 2d 904, 909 (2009);
16   Spokoiny v. Washington State Youth Soccer Ass’n, 128 Wash. App. 794, 801
17   (2005); Post v. Belmont Country Club, Inc., 60 Mass. App. 645, 647 (2004). “The
18   ‘bylaws, and rules of private organizations create a legally enforceable agreement
19   in the nature of a contract between the organization and the member because of
20   corresponding mutual obligations—by the member to follow the rules of the
21   organization, and by the organization to fairly apply those rules.’” Pollock, 41 Kan.
22   App. 2d at 909 (quoting King v. Grand Chapter of Rhode Island, 919 A.2d 991,
23   998 (R.I. 2007)). Moreover, “one who becomes a member of an association is
24
25   3
            Omni also asserts the related defenses of release and waiver to supplement its
26   contractual assumption of the risk defense. (See Doc. 12 at 4:8-5:25, 8:1-9:17, 9:18-
27   11:7.) Because all three defenses are based on the same set of facts, (see ibid.),
     Omni’s arguments regarding express assumption of the risk apply with equal force
28   to the waiver and release defenses.
                                                                  MEM. OF P. & A. IN OPP’N TO
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 1   deemed to have known and assented to its bylaws and ‘cannot be heard to object’
 2   to the enforcement of the bylaws.” Spokoiny, 128 Wash. App. at 801.
 3            A member of a club is also bound by any exculpatory language contained in
 4   the governing membership documents. In Post, a country club was sued for
 5   wrongful death by the estate of a club member who died after a golf cart accident.
 6   60 Mass. App. at 646. The trial court granted summary judgment in favor of the
 7   club based on release and indemnity language in the club’s membership agreement,
 8   and the estate appealed. Id. at 645-46.
 9            On appeal, the estate argued that the release and indemnity clause “was
10   contained in a member’s handbook among many other rules, regulations, and
11   provisions; that the section was not highlighted, as other sections of the handbook
12   were; and that there was no evidence that [the decedent] had ever read the provision
13   or knew of its existence, either before he became a member of the club, or during
14   the ten years of his membership.” Id. at 647. The appellate court rejected the
15   estate’s arguments.
16            The court first noted the well-settled rule that when “[the decedent] became
17   a member of the club, he entered into an obligation, in the nature of a contract, to
18   be bound by the club’s rules and by-laws, and accepted all obligations that were
19   not inconsistent with law.” Ibid. As to the purported lack of assent, the court
20   “conclude[d] that in becoming a member of the club, [the member] should be
21   charged with knowledge of the Club’s by-laws and rules and regulations, and that
22   his actual knowledge of the provision need not be shown in order that the provision
23   apply.” Id. at 648. The appellate court accordingly affirmed the judgment in favor
24   of the country club. Id. at 645, 654; see also Martin v. Metropolitan Yacht Club,
25   Inc., 388 Fed. Appx. 6, 7 (1st Cir. 2010) (affirming grant of summary judgment
26   finding yacht club was not liable to damages to members’ boats based on
27
28
                                                                  MEM. OF P. & A. IN OPP’N TO
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 1   exculpatory clause in club’s bylaws).4
 2                      2.    Plaintiff’s Action Is Barred By The Release Contained In The
                              Club’s Rules And Regulations.
 3
 4            As noted above, Plaintiff’s membership at the Club is governed by the Club’s
 5   Membership Plan and the Rules and Regulations, among other documents. (Irwin
 6   Decl. ¶ 10; Green Decl., Ex. C, Exs. 3, 5.) The Membership Plan advises prospective
 7   members to carefully review all membership documents. (Green Decl., Ex. C, Ex. 3
 8   at 3.) Specifically, the Plan states that “[e]very person who desires to obtain a
 9   Signature Membership … should carefully read this Signature Membership Plan and
10   all of the referenced documents and should seek professional advice to evaluate these
11   documents.” (Ibid.)
12            Referenced throughout the Membership Plan is the Rules and Regulations. (Id.
13   at i, ii, 1, 2, 4, 5, 8, 9, 13, 15.) The Introduction of the Membership Plan expressly
14   provides that “[t]he terms of Membership are described in this Signature Plan and in
15   the Rules and Regulations.” (Id. at 1.) The Membership Plan further states in relevant
16   part:
17                      All Signature Membership classes will be subject to this
                        Signature Membership Plan and the Rules and Regulations,
18                      as amended from time to time by the Club. By applying for
                        a Signature Membership, the applicant agrees the Club
19                      may amend the Signature Membership Plan and Rules and
                        Regulations and that his/her Signature Membership shall
20
21   4
           The court in Post also recognized the mutual benefit that an exculpatory
22   provision provides to the membership of a club. The court observed, “Given the
     extent of the membership and the expected use of carts during the golfing season,
23
     with the possibility that others might be injured and lay claim against the club, the
24   indemnity clause was in fact more likely to have worked in [the decedent’s] favor
     than not, shielding him and the other members from increased dues related to
25
     payment of claims or additional insurance costs.” Post, 60 Mass. App. at 649; see
26   also Martin, 388 Fed. Appx. at 8 (“The limit on liability is one of several terms of a
27   compact of the members with each other to limit the cost of membership, and every
     prospective member who joins immediately shares in its benefits.”) (footnote
28   omitted).
                                                                     MEM. OF P. & A. IN OPP’N TO
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 1                      be subject to the Signature Membership Plan and Rules and
                        Regulations. (Id. at 2.)
 2
 3            The Membership Plan also provides that “Signature Membership permits the
 4   Signature Member to use the Club Facilities in accordance with the terms of this
 5   Signature Membership Plan, such Member’s Membership Application and the Rules
 6   and Regulations[] ….” (Id. at 8.) The Plan similarly states that, “[i]f approved for
 7   Signature Membership in the Club, the Signature Member agrees to be bound by the
 8   terms and conditions of this Signature Membership Plan and the Rules and
 9   Regulations of the Club, as amended from time to time[] ….” (Id. at 13.) The Plan
10   also indicates that “[t]he Signature Member is acquiring a license to use the Club
11   Facilities, subject to compliance with the Rules and Regulations of the Club and the
12   provisions of this Signature Membership Plan.” (Id. at 15.)
13            At his deposition, Plaintiff testified that he understood that the Club has rules
14   and regulations, including at the time he applied to be a member, and that he
15   understood, as a member of the Club, he was subject to such rules and regulations.
16   (Green Decl., Ex. C at 30:5-15.)
17            The Rules and Regulations, which took effect on March 1, 2006, and to which
18   Plaintiff was subject, contain a release and assumption of risk provision, which states
19   in relevant part:
20                      Any Member … who, in any manner, makes use of or
                        accepts the  use of any apparatus, appliance, facility,
21                      privilege[5] or service whatsoever owned, leased or
                        operated by the Owner, or who engages in any contest,
22                      game, function, exercise, competition or other activity
                        operated, organized, arranged or sponsored by the Owner
23
24
     5
             The Rules and Regulations define “privileges” as “the license to use the Club
25
     Facilities, activities and programs given to Members of the Club as set forth in the[]
26   Rules and Regulations and as otherwise provided by the Club.” (Green Decl., Ex. C,
27   Ex. 5 at 3, Art. I, § 2, ¶ (bb).) “Club Facilities” include the Golf Courses, i.e., the
     Champions and Legends Courses. (Green Decl., Ex. C, Ex. 5 at 1, 2, Art. I, § 2, ¶¶
28   (f), (k).)
                                                                     MEM. OF P. & A. IN OPP’N TO
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 1                      either on or off the Resort Facilities[6] shall do so at his/her
                        own risk, and shall indemnify, defend and hold harmless
 2                      the Club, [and] the Owner …, from any and all loss, cost,
                        claim, injury, damage or liability sustained or incurred by
 3                      him/her, resulting there from and/or resulting from any act
                        or omission of the Club, [and] the Owner, … or arising out
 4                      of or incident to Membership or use of the Resort Facilities.
                        Additionally the Member shall indemnify and hold
 5                      harmless the Owner, [and] the Club …, in respect to any
                        such loss, cost, claim or injury, damage or liability
 6                      sustained or incurred by the Member …. (Green Decl., Ex.
                        C, Ex. 5 at 29-30, Art. VII.)
 7
 8            Plaintiff’s action unequivocally falls within the ambit of the foregoing release.
 9   At the time of his injury, Plaintiff was making use of a privilege and facility at the
10   Club by playing golf on the Legends Course.7 Plaintiff also claims an injury that
11   resulted from an alleged action or omission of Omni. Specifically, the Complaint
12   avers that Omni “carelessly and negligently inspected, repaired, maintained, owned,
13   controlled, and marked the premises …[,]” which resulted in Plaintiff tripping and
14   falling on the golf course. (Doc. 1-2, Ex. A at 4, 5 ¶¶ GN-1, Prem.L-1.) Plaintiff’s
15   injury also arises out of, and is incident to, both his membership at the Club and his
16   use of the Legends Course. Pursuant to the release in the Rules and Regulations,
17   Plaintiff therefore played golf at his own risk on the date of the incident, and he must
18   indemnify, defend and hold harmless Omni from his resulting injury.
19                      3.     Walking From A Golf Cart To The Tee Box Is An Inherent Part
                               Of Golf.
20
21            Plaintiff’s argument that the release does not apply because he was injured
22   while walking on the course is unavailing. (Doc. 13-1 at 5:11-6:4, 6:18-7:15.) At the
23   time of his injury, Plaintiff was traveling from his golf cart to the tee box, which is
24   an inherent part of golf. See Hahn v. Town of Haverstraw, N.Y., No. 11 CV
25   6
            Among other facilities, the “resort facilities” consist of the “Club Facilities,”
26   which, as previously noted, include the Golf Courses, i.e., the Champions and
27   Legends Courses. (Green Decl., Ex. C, Ex. 5 at 1, 2, 3, Art. I, § 2, ¶¶ (f), (k), (bb).)
     7
            Playing golf on the Legends Course also constitutes engaging in a game or
28   other activity operated by Omni within the meaning of the release.
                                                                           MEM. OF P. & A. IN OPP’N TO
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 1   1635(VB), 2013 WL 1680179, at *4 (S.D.N.Y. Apr. 3, 2013), aff’d 563 Fed. Appx.
 2   75 (2nd Cir. 2014) (holding that “traveling from the tee to the green as part of [a]
 3   round of golf[,]” whether by walking or by golf cart, is an inherent part of golf); see
 4   also Mangan v. Engineer’s Country Club, Inc., 79 A.D. 3d 706, 706 (N.Y. App. Div.
 5   2010) (recognizing walking down staircase from golf cart path to tee box is an
 6   inherent risk in golf); Barbato v. Hollow Hills Country Club, 14 A.D. 3d 522, 522
 7   (N.Y. App. Div. 2005) (finding walking on green to be inherent in golf); Egeth v.
 8   County of Westchester, 2016 A.D. 2d 502 (N.Y. App. Div. 1994) (concluding that
 9   “voluntarily traversing” a low mound of earth located between the golf cart path and
10   playing area is an inherent risk in golf).
11            Plaintiff’s argument also inexplicably ignores the language rendering the
12   provision applicable to any member who makes use of any facility or privilege owned
13   or operated by Omni. (Green Decl., Ex. C, Ex. 5 at 29-30, Art. VII.) As noted above,
14   the release is triggered because Plaintiff was using the Legends Course when he was
15   injured, and thus was making use of a facility or privilege owned or operated by
16   Omni.8
17                      4.    The Release Covers Both Passive And Active Negligence.
18            Relying on Burnett v. Chimney Sweep, 123 Cal. App. 4th 1057 (2004), Plaintiff
19   also argues that the release shields against only “passive negligence,” and not “active
20   negligence,” because the release at issue does not specifically reference
21   “negligence.” (See Doc. 13-1 at 6:10-17.) Although ignored by Plaintiff, Burnett goes
22   on to state that “the ‘active-passive dichotomy’ is not ‘wholly dispositive’ of the
23   issue.” Burnett, 123 Cal. App. 4th at 1066. Rather, “[w]hether an exculpatory clause
24   ‘covers a given case turns primarily on contractual interpretation, and it is the intent
25   of the parties as expressed in the agreement that should control.’” Ibid.
26
27
     8
            The release is also triggered by the language quoted in Plaintiff’s motion. (See
     Doc. 13-1 at 5:15-18, 6:18-25.) As noted above, by playing golf at the time of his
28   injury, Plaintiff was engaging in a game or other activity operated by Omni.
                                                                   MEM. OF P. & A. IN OPP’N TO
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 1            Unlike Burnett, which involved an exculpatory clause in a lease, id. at 1062,
 2   in the context of exculpatory agreements in recreational sports, such as the instant
 3   action, California courts have recognized that, “‘[i]f a release of all liability is given,




                                                                          -
 4   the release applies to any negligence of the defendant.’” Eriksson, 233 Cal. App. 4th
 5   at 722 (emphasis added and citing Cohen v. Five Brooks Stable, 159 Cal. App. 4th
 6   1476, 1485 (2008)); Benedek v. PLC Santa Monica, 104 Cal. App. 4th 1351, 1357-
 7   58 (2002)). The only requirement is “‘that the act of negligence, which results in
 8   injury to the releaser, be reasonably related to the object or purpose for which the
 9   release is given.’” Eriksson, 233 Cal. App. 4th at 722. “‘An act of negligence is
10   reasonably related to the object or purpose for which the release was given if it is
11   included within the express scope of the release.’” Ibid.
12            For example, in Sanchez v. Bally’s Total Fitness Corp., 68 Cal. App. 4th 62
13   (1998), the plaintiff’s membership application to a health club included an agreement
14   “that all exercises and use of the fitness centers are undertaken by the member at the
15   sole risk of the member, and that the fitness center shall not be liable for any claims
16   for injuries or damages whatsoever to person or property of the member … arising
17   out of or connected with the use of the fitness center.” 68 Cal. App. 4th at 64-65.
18   After slipping and falling during an aerobics class, the plaintiff argued in a
19   subsequent lawsuit against the gym that the exculpatory provision was inadequate
20   due to the absence of the word “negligence.” Id. at 66-69.
21            In its opinion affirming the grant of summary judgment in favor of the gym,
22   the California Court of Appeal recognized that “an analysis based on the ‘active-
23   passive dichotomy’ or on the absence or presence of a specific reference to
24   ‘negligence’ is not dispositive.” Id. at 66; see also Hass v. RhodyCo Productions, 26
25   Cal. App. 5th 11, 26 (2018); Cohen, 159 Cal. App. 4th at 1485. Indeed, that “the term
26   ‘negligence’ or the specific incident of active or passive negligence [] appear in the
27   provision[] … is not the law.” Sanchez, 68 Cal. App. 4th at 68. It is instead the
28   language in the release that governs. Id. at 66-67.
                                                                     MEM. OF P. & A. IN OPP’N TO
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 1            Given it was “not remarkable that a health club would recognize that providing
 2   a facility in which members would engage in physical exercise and use exercise
 3   equipment involves a risk of injuries to its members[,]” the court found the gym
 4   “rationally required a release and assumption of risk as a condition of membership.”
 5   Id. at 67. The court accordingly held the action barred by the release contained in the
 6   plaintiff’s membership application.9 Id. at 69; see also Eriksson, 233 Cal. App. 4th
 7   at 722 (concluding that agreement to hold a horse trainer “completely harmless and
 8   not liable and release [her] from all liability whatsoever” “plainly encompasses
 9   liability for future negligence as well as any previously committed torts”).10
10            Similar to Sanchez, in light of the risk of injuries associated with the various
11   activities at the Club, including golf, the release and assumption of risk language was
12   a rational condition of Plaintiff’s membership. Moreover, the plain language of the
13   Rules and Regulations makes it clear that Plaintiff’s use of the golf course at the Club
14   was at his own risk, and that he is obligated to “indemnify, defend and hold harmless”
15   the Club and Omni “from any and all loss, cost, claim, injury, damage or liability
16   sustained or incurred by him/her, resulting there from and/or resulting from any act
17
18   9
            Omni anticipates Plaintiff will argue Sanchez is inapposite because the
     plaintiff therein signed a membership application. As discussed infra, however, not
19
     only has Plaintiff admitted in this action that he is subject to the Club’s Rules and
20   Regulations, (Green Decl., Ex. C at 30:5-15), but his mere membership in the Club,
     and enjoyment of the benefits thereof, binds him thereto. Post, 60 Mass. App. at 647-
21
     48.
22   10
            The only type of negligence not covered by the release is gross negligence,
     which the California Supreme Court had held would violate public policy. Eriksson,
23
     233 Cal. App. 4th at 723 (citing City of Santa Barbara v. Superior Court, 41 Cal. 4th
24   747, 751 (2007)). In contrast to ordinary negligence, which “consists of a failure to
     exercise the degree of care in a given situation that a reasonable person under similar
25
     circumstances would employ to protect others from harm[,]” gross negligence is
26   defined “as either a ‘want of even scant care’ or ‘an extreme departure from the
27   ordinary standard of conduct.’” Santa Barbara, 41 Cal. 4th at 753-54. The bar against
     releasing gross negligence is of no import, however, given Plaintiff does not and
28   cannot allege gross negligence against Omni.
                                                                     MEM. OF P. & A. IN OPP’N TO
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 1   or omission of [Omni], … or arising out of or incident to … use of the Resort
 2   Facilities.” (Green Decl., Ex. C, Ex. 5 at 29-30, Art. VII [emphasis added].) The
 3   breadth of the foregoing release therefore unequivocally encompasses all types of
 4   ordinary negligence, whether passive or active.
 5            Even assuming arguendo that the release extends only to passive negligence,
 6   which is not the case, Plaintiff alleges only passive negligence against Omni.
 7   Whereas active negligence involves “an affirmative act,” knowledge of or
 8   acquiescence in negligent conduct, or failure to perform specific duties, passive
 9   negligence involves “mere nonfeasance, such as the failure to discover a dangerous
10   condition or to perform a duty imposed by law.” Rossmoor Sanitation, Inc. v. Pylon,
11   Inc., 13 Cal. 3d 622, 629 (1975).
12            As noted above, the Complaint alleges that Omni “carelessly and negligently
13   inspected, repaired, maintained, owned, controlled, and marked the premises ….”
14   (Doc. 1-2, Ex. A at 4, 5 ¶¶ GN-1, Prem.L-1.) In his discovery responses, the only
15   negligence identified by Plaintiff was the failure to maintain the golf cart path and
16   adjacent area in “a reasonably safe condition[,]” specifically the failure to provide “a
17   warning [or blockade] of the dirt hole[,]” or “mak[e] the grassy area reasonably level
18   adjacent to the golf cart curb …” (Green Decl., Ex. A at 4:7-14.) Such conduct
19   amounts to only passive negligence. Thus, even accepting Plaintiff’s premise that the
20   release only extends to passive negligence, Plaintiff’s action is still foreclosed by the
21   release.11
22   ///
23
24
25
26   11
           While Plaintiff’s motion asserts that Omni was actively negligent because “it
27   dug a long trench next to the cart path[,]” (Doc. 13-1 at 6:17), such assertion is
     unsupported by any evidence and is thus insufficient to satisfy Plaintiff’s burden on
28   summary judgment.
                                                                    MEM. OF P. & A. IN OPP’N TO
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 1                      5.    No Signature On Plaintiff’s Membership Application Was
                              Necessary To Bind Plaintiff To The Release In The Club’s Rules
 2                            and Regulations.
 3            Plaintiff’s attack on the express assumption of the risk defense is predicated
 4   on the false premise that the release in the Rules and Regulations is not enforceable
 5   because he did not sign his membership application. The application notes that it,
 6   along with the Membership Plan and the Rules and Regulations, “represents the
 7   entire understanding between the parties …[,]” which is followed by a signature
 8   block for the applicant, as well as a place for the applicant to initial that he received
 9   and understands the Membership Plan and the Rules and Regulations. (Green Decl.,
10   Ex. C, Ex. 4 at 4.) That Plaintiff now asserts he did not sign the membership
11   application is inconsequential.
12            As detailed above, Plaintiff’s mere membership in the Club created a
13   contractual relationship between Plaintiff and the Club, and Plaintiff is thus bound
14   by the Club’s Rules and Regulations as a matter of law. Cobb, 233 Cal. App. 4th
15   at 965; Pollock, 41 Kan. App. 2d at 909; Spokoiny, 128 Wash. App. at 801; Post,
16   60 Mass. App. at 647. Moreover, the statement in the membership application that
17   it, the Membership Plan, and the Rules and Regulations constitute the terms of the
18   contractual relationship between Plaintiff and the Club does nothing more than
19   reiterate the legal principles reflected in Cobb, Pollock, Spokoiny, and Post.
20            These same principles also do not require that Plaintiff receive and
21   understand the Membership Plan, or the Rules and Regulations. Regardless of
22   whether Plaintiff ever read the Rules and Regulations, even knew of the existence
23   of the release therein, or specifically agreed to the release through a signature or
24   otherwise, Plaintiff is deemed to have assented to such rules and is charged with
25   knowledge of the same. Spokoiny, 128 Wash. App. at 801; Post, 60 Mass. App. at
26   648.
27            Furthermore, Plaintiff’s testimony in this action confirms that he understood
28   the foregoing principles. As previously noted, Plaintiff testified that he understood
                                                                    MEM. OF P. & A. IN OPP’N TO
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 1   that the Club has rules and regulations, and that, as a member of the Club, he was
 2   subject to the such rules and regulations. (Green Decl., Ex. C at 30:5-15.) The
 3   governing membership documents, including the Rules and Regulations, were also
 4   available at any time upon Plaintiff’s request. (Irwin Decl. ¶ 10.) Plaintiff instead
 5   elected not to request such documents because of his familiarity with rules and
 6   regulations for other golf courses. (Green Decl., Ex. C at 31:8-15.)
 7            Notwithstanding the fact that Plaintiff’s membership in the Club, by itself,
 8   binds him to the Rules and Regulations as a matter of law, California contract law
 9   also does not require a contract to be executed in order to be enforceable. California
10   courts have explained as follows:
11                      A “voluntary acceptance of the benefit of a transaction is
                        equivalent to a consent to all the obligations arising from
12                      it, so far as the facts are known, or ought to be known, to
                        the person accepting.” (Civ. Code, § 1589, see also Civ.
13                      Code, § 1584 [“acceptance of the consideration offered
                        with a proposal, is an acceptance of the proposal”]; Grant
14                      v. Long (1939) 33 Cal.App.2d 725, 736 [“[w]hile an
                        express contract is one, the terms of which are stated in
15                      words ... , one party may use the words and the other may
                        accept, either in words or by his actions or conduct”
16                      (citation omitted)].) Vita Planning and Landscape
                        Architecture, Inc. v. HKS Architects, Inc., 240 Cal. App.
17                      4th 763, 773 (2015) (emphasis omitted).
18            There is no dispute that Plaintiff has been a member of the Club since 2007,
19   and that he has enjoyed the benefits of his membership since then. Plaintiff plays
20   golf at the Club at least two times per week and enjoys paying no green fees and no
21   fees for a locker, golf cart, or bag storage. (Green Decl., Ex. C at 14:25-15:10, 18:18-
22   19:1,19:9-20:4, 22:1-7, 33:17-34:8.) Plaintiff, however, must also bear the burdens
23   and obligations of his membership. This includes the release contained in the Rules
24   and Regulations, which agreement Plaintiff has acknowledged he is subject to.
25   Accordingly, the purported absence of Plaintiff’s signature on the membership
26   application is of no moment.12
27
28   12
              In an effort to further sow confusion, Plaintiff also claims the membership
                                                                       MEM. OF P. & A. IN OPP’N TO
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 1                      6.    There Is A Genuine Issue Of Material Fact Regarding Whether
                              Plaintiff Signed The Membership Application.
 2
 3            Even if a signature was required, which it is not, Omni has submitted the
 4   declaration of Linda Mitchell, a Certified Forensic Document Examiner and expert
 5   in handwriting identification. (Mitchell Decl. ¶¶ 2-3.) In her expert opinion, “it is
 6   more likely than not that [Plaintiff] signed the [membership application].” (Id. ¶ 8.)
 7   Indeed, at his deposition, while Plaintiff stated the signature did not look like his, he
 8   ultimately testified that he was not sure if it was his signature or not. (Green Decl.,
 9   Ex. C at 148:23-149:25.) Because there is a genuine issue of material fact as to
10   whether Plaintiff signed the membership application, Plaintiff’s motion for
11   summary judgment should be denied.13
12            B.        PLAINTIFF IS NOT ENTITLED TO JUDGMENT AS A
                        MATTER OF LAW ON OMNI’S PRIMARY ASSUMPTION OF
13                      THE RISK DEFENSE
14            Aside from express assumption of risk, “there are two types of assumption
15   of risk: primary and secondary.” Shin v. Ahn, 42 Cal. 4th 482, 489 (2007) (citing
16   Knight v. Jewett, 3 Cal. 4th 296, 308-09 (1992)). The California Supreme Court has
17   described primary assumption of the risk as follows:
18                      Under the primary assumption of risk doctrine, the
                        defendant owes no duty to protect a plaintiff from
19                      particular harms arising from ordinary, or simple
                        negligence. [Citation.] In a sports context, the doctrine bars
20                      liability because the plaintiff is said to have assumed the
                        particular risks inherent in a sport by choosing to
21                      participate. [Citation.] Thus, “a court need not ask what
22
     application in the Club’s files includes the wrong member number, specifically
23
     017088 instead of 071000. (Doc. 13-1 at 2:15-22, 4:24-26.) The former, however,
24   was Plaintiff’s member number when he first obtained his membership in January
     2017, but the number was changed to 071000 when Plaintiff upgraded his
25
     membership roughly six months later. (Irwin Decl. ¶ 9, Ex. F.)
26   13
           Plaintiff’s motion seems to fault Omni for not listing in its initial disclosures
27   any “witness to testify that [Plaintiff] signed a contract.” (Doc. 13-1 at 5:1-6.) Ms.
     Mitchell, however, is an expert witness. The disclosure of her identity is therefore
28   governed by Federal Rule of Civil Procedure 26(a)(2), not Rule 26(a)(1).
                                                                         MEM. OF P. & A. IN OPP’N TO
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 1                      risks a particular plaintiff subjectively knew of and chose
                        to encounter, but instead must evaluate the fundamental
 2                      nature of the sport and the defendant’s role in or
                        relationship to that sport in order to determine whether the
 3                      defendant owes a duty to protect14a plaintiff from the
                        particular risk of harm. [Citation].” Shin, 42 Cal. 4th at
 4                      489 (emphasis in original).
 5            The California Supreme Court has held that primary assumption of risk applies
 6   to the sport of golf. Id. at 497 (holding that being struck by a carelessly hit golf ball
 7   is an inherent risk of golf). While the bulk of California case law concerning golf
 8   course injuries involves golfers being hit by errant golf balls, numerous courts outside
 9   California have applied primary assumption of risk to reject negligence and premises
10   liability claims in circumstances similar to the instant action.
11            For example, in Egeth, a golfer brought a negligence action against a golf
12   course for injuries she sustained from walking over a low mound of earth located
13   between the golf cart path and the playing area of the course. 2016 A.D. 2d at 502.
14   In affirming the trial court’s grant of summary judgment in favor of the golf course,
15   the New York appellate court agreed with the trial court’s “conclusion that that the
16   plaintiff, by voluntarily traversing this topographical feature of the golf course,
17   assumed the risk of injury therefrom and is precluded from recovery.” Ibid. (citations
18   omitted). The court further found “that the terrain around the green was inherent to
19   the nature of the golf course and that, under the circumstances, the plaintiff was not
20   unnecessarily or unreasonably exposed to danger.”15 Ibid. (citations omitted).
21   14
            In contrast to primary assumption of risk, “the secondary assumption of risk
22   doctrine relates to the allocation of damages, not to the question of duty.” Shin, 42
     Cal. 4th at 498. “Once it has been established that a duty has been breached, … the
23
     general principles of comparative fault are applied to assign liability in proportion to
24   the parties’ respective fault. Thus, primary assumption of risk applies to the question
     of duty and secondary assumption of risk applies to the calculation of damages.” Id.
25
     at 498-99 (emphasis in original).
26   15
            The court in Egeth also noted that the plaintiff “was aware of the mound of
27   earth having traversed it on a prior occasion[.]” 2016 A.D. 2d at 502. Although
     California and New York both employ “a no-duty rule when analyzing sports injury
28   claims” based on the primary assumption of risk doctrine, see Pfenning v. Lineman,
                                                                        MEM. OF P. & A. IN OPP’N TO
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 1            In Parsons v. Arrowhead Golf, Inc., 874 N.E.2d 993 (Ind. Ct. App. 2007),16
 2   the plaintiff parked his golf cart on the cart path, exited the cart and retrieved his golf
 3   club. 874 N.E.2d at 994. The plaintiff then turned from the cart and stepped off the
 4   cart path onto the green, which required him to “step down because of a drop
 5   [between four and twelve inches deep] from the asphalt path to the ground.” Ibid.
 6   The plaintiff landed straight-legged and suffered a back injury. Ibid. The trial court
 7   granted summary judgment in the golf course’s favor, finding that “[plaintiff] was a
 8   voluntary participant in the sporting activity of golf and thereby assumed the risk of
 9   injuries as a result of all reasonably foreseeable parts of the game, including
10   traversing the grounds of the golf course.” Ibid.
11            The Indiana appellate court affirmed, concluding as a matter of law that the
12   golf course owed no duty to prevent the type of injury that the plaintiff sustained. Id.
13   at 998. In addition to adopting the trial court’s rationale, id. at 997-98, the appellate
14   court observed that “traversing the topographical features of a golf course is an
15   inherent part of the game of golf[,]” and that “[g]olf is played outside and requires
16   that players walk over grass and other natural conditions of the land on which the
17   course is located.” Id. at 999.
18            In Simon v. Hamlet Windwatch Dev., LLC, 120 A.D. 3d 657 (N.Y. App. Div.
19   2014), after exiting his golf cart, and while walking to the rear of the cart to retrieve
20   his club, the plaintiff “stepped into an area of the cart path containing a depressed
21   drainage grate[,]” which caused him to fall forward and sustain an injury. 120 A.D.
22
23
     947 N.E. 2d 392, 401 (Ind. 2011), a plaintiff’s subjective knowledge of a risk is not
24   considered under California’s primary assumption of risk doctrine. Knight, 3 Cal. 4th
     at 316. Thus, while Plaintiff had traversed the bridge between the sixth hole and
25
     seventh tee nearly 100 times before the incident, Omni recognizes this fact is not
26   considered under its primary assumption of the risk defense.
27
     16
           Parsons was decided before the Supreme Court of Indiana eliminated the no-
     duty approach to assumption of the risk in Indiana. Pfenning, 947 N.E. 2d at 404 n.3.
28   Given California employs the no-duty rule, however, Parsons is instructive.
                                                                     MEM. OF P. & A. IN OPP’N TO
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 1   3d at 657. The trial court granted summary judgment in favor of the golf course,
 2   reasoning that “tripp[ing] on a depression associated with a drainage grate in a cart
 3   path is the kind of condition and circumstance to which the doctrine of assumption
 4   of risk applies[,]” which the New York appellate court affirmed based on the doctrine
 5   of primary assumption of risk. Simon v. Hamlet Windwatch Dev., LLC, No.
 6   360672010, 2013 WL 10154235, at *1-2 (N.Y. Super. Feb. 14, 2013); Simon, 120
 7   A.D. 3d at 657.
 8            In Bryant v. Town of Brookhaven, 135 A.D. 3d 801 (N.Y. App. Div. 2016), a
 9   golfer brought suit against a golf course after he slipped and fell on a wet wooden
10   railroad tie that lined a footpath on a golf course. 135 A.D. 3d at 802. While the trial
11   court denied the golf course’s motion for summary judgment, the New York appellate
12   court reversed and directed that the motion be granted based on the doctrine of
13   primary assumption of the risk. Ibid.
14            The court noted that the risks inherent in a sport, like golf, include “the risks
15   involved in the construction of the field, and any open and obvious conditions of the
16   place where the sport is played.” Ibid. (citations omitted). The court accordingly held
17   “that slipping on the wet railroad tie was a reasonably foreseeable consequence of
18   playing golf while the course was still wet from the morning dew[,]” and that “the
19   injured plaintiff … assumed the risk of injury.” Id. at 803. The court also rejected the
20   plaintiff’s argument that “overgrown grass camouflaged or hid the slippery condition
21   of the railroad tie from view” because the plaintiff had testified “that, as he was
22   approaching the footpath, he was looking ‘[a]head,’ was not walking with his head
23   down, but walking ‘straight ahead,’ and saw the footpath in front of him.” Ibid.
24            In Bockelmann v. New Paltz Golf Course, 284 A.D. 2d 783 (N.Y. App. Div.
25   2001), the plaintiff golfer slipped and fell while crossing a wooden bridge at the
26   defendant’s golf course. 284 A.D. 2d at 783. The trial court denied the golf course’s
27   motion for summary judgment, but the New York appellate court reversed based on
28   the assumption of risk doctrine. Ibid. In directing the trial court to grant the motion,
                                                                     MEM. OF P. & A. IN OPP’N TO
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 1   the appellate court held that “the bridge, which provided golfers with a means of
 2   traversing a drainage ditch by cart or foot,” is “an integral part of the golf course.”
 3   Id. at 783-84.
 4            As reflected in Egeth, Parsons, Simon, Bryant, and Bockelman, traversing the
 5   topographical features of a golf course is an inherent risk in golf. Such features
 6   include the golf cart path, the terrain adjacent to the path, and bridges. As part of
 7   playing golf, golfers are required to walk from golf cart paths to grass and across the
 8   “grass and other natural conditions of the land on which the course is located.”
 9   Parsons, 874 N.E.2d at 999. On those courses with culverts and drainage channels,
10   such as the Legends Course, golfers also must cross bridges when playing golf.
11   Bockelman, 284 A.D. 2d at 783-84. Indeed, the risks inherent in golf include all of
12   those associated with the construction of the course. Bryant, 135 A.D. 3d at 802.
13            Plaintiff’s sole argument regarding primary assumption of the risk is that the
14   defense does not apply to mere walking. (Doc. 13-1 at 7:25-28.) Not only does this
15   argument ignore the fact that Plaintiff was golfing when he was injured, but, as noted
16   above, walking from a golf cart parked on the cart path to the tee box is an inherent
17   part of golf. Hahn, 2013 WL 1680179 at *4; Mangan, 79 A.D. 3d at 706; Barbato,
18   14 A.D. 3d at 522; Egeth, 2016 A.D. 2d at 502.
19            Although not argued in Plaintiff’s moving papers, and therefore precluded
20   from doing so on reply, any purported claim that the portion of the culvert in which
21   Plaintiff stepped was somehow hidden from view due to overgrown grass is also
22   insufficient to defeat primary assumption of the risk. Similar to Bryant, Plaintiff
23   testified at his deposition that he was looking straight ahead at the tee box, instead of
24   looking down, when he stepped over the curb of the golf cart path and into the culvert.
25   (Green Decl., Ex. C at 64:20-65:1, 103:11-15); Bryant, 135 A.D. 3d at 802. Given
26   Plaintiff was not looking down at the grass when he stepped over the curb, the length
27   of the grass is therefore immaterial. Moreover, when looking at a photograph taken
28   at the time of the incident, Plaintiff admitted at his deposition that the area of the
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 1   culvert in which he stepped was “absolutely” visible. (Green Decl., Ex. C at 111:19-
 2   22.) Accordingly, Plaintiff’s slip and fall injury while stepping over the curb of the
 3   golf cart path on his way to the tee box is foreclosed by primary assumption of the
 4   risk.
 5            C.        PLAINTIFF IS NOT ENTITLED TO JUDGMENT AS A
                        MATTER OF LAW ON OMNI’S COMPARATIVE
 6                      NEGLIGENCE DEFENSE
 7            As its third affirmative defense, Omni alleges that the Complaint is “barred”
 8   due to Plaintiff’s comparative negligence. (Doc. 12 at 6:18-7:19.) As indicated in
 9   Plaintiff’s motion, in Li v. Yellow Cab Co., 13 Cal. 3d 804 (1975), the California
10   Supreme Court replaced the former rule that contributory negligence was a
11   complete bar to recovery with the comparative negligence approach, “under which
12   liability for damage will be borne by those whose negligence caused it in direct
13   proportion to their respective fault.” 13 Cal. 3d at 813. Based on Li, Plaintiff’s
14   motion nitpicks Omni’s use of the word “barred” on the ground that comparative
15   negligence is not a complete bar and contends that the defense should be
16   “dismissed or corrected.” (Doc. 13-1 at 8:3-8.)
17            Not only does the First Amended Answer place Plaintiff on ample notice of
18   Omni’s comparative negligence defense, which includes a detailed recitation of
19   facts supporting the same, (Doc. 12 at 6:20-7:19), but Plaintiff’s motion also
20   confirms Plaintiff’s understanding of the contours of the defense. Moreover, the
21   intent of the defense and the use of the word “barred” is to allege that Plaintiff’s
22   action is precluded to the extent he was himself negligent.
23            Among other facts, Plaintiff parked and exited his golf cart on the downslope
24   ramp of the bridge on the golf cart path, (Green Decl., Ex. C at 77:12-21, Ex. 11 at
25   3); Plaintiff was looking straight ahead at the tee box, instead of looking down, when
26   he stepped over the curb from the cart path on his way to the tee box, (Green Decl.,
27   Ex. C at 64:20-65:1, 103:11-15); Plaintiff testified that the culvert was “absolutely”
28   visible on the date of the incident, (Green Decl., Ex. C at 111:19-22); and Plaintiff
                                                                   MEM. OF P. & A. IN OPP’N TO
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 1   had played golf on the Legends Course, and had thus traversed and observed the
 2   bridge and culvert below, nearly 100 times before the incident. (Green Decl., Ex. C
 3   at 48:23-49:16, Ex. 10.) Dismissal of Omni’s comparative negligence defense is
 4   therefore inappropriate.17
 5            D.        PLAINTIFF IS NOT ENTITLED TO JUDGMENT AS A
                        MATTER OF LAW ON OMNI’S THIRD PARTY DEFENSE
 6
 7            Plaintiff’s motion also takes issue with Omni’s affirmative defense that it is
 8   not responsible for the conduct of third parties, such as Hoagland and Sons
 9   Concrete (“Hoagland), who designed and constructed the bridge on the cart path
10   between the sixth hole and seventh tee box. (Docs. 12 at 7:20-28, 13-1 at 8:9-23.)
11   Specifically, Plaintiff faults Omni for not alleging more facts to support the defense
12   and for not filing a third party complaint against Hoagland. (Doc. 13-1 at 8:9-23.)
13   Neither ground supports summary judgment in favor of Plaintiff on this defense.
14            Under Federal Rule of Civil Procedure 56(d), the Court may defer or deny
15   the motion in order to allow Omni time to take discovery. The deposition of the
16   “person most knowledgeable” at Hoagland regarding the design and construction
17   of the bridge, among other topics, has been noticed for July 22, 2020. (Green Decl.
18   ¶ 9, Ex. D.) In order to allow Omni the opportunity to obtain facts that may or may
19   not support Omni’s third party defense, the Court should either defer or deny
20   Plaintiff’s motion as to this defense. (See Green Decl. ¶¶ 6-9.)
21            Moreover, even if the deposition of Hoagland results in evidence to support
22   Omni’s third party defense, the filing of a third party complaint against Hoagland
23   is not mandatory. Fed. R. Civ. P. 14(a)(1); Fernandez v. Corporacion Insular De
24   Seguros, 79 F.3d 207, 210 (1st Cir. 1996). Finally, an action for equitable
25   indemnity against a third party tortfeasor does not accrue, for purposes of the
26
27
     17
           In the event the Court agrees with Plaintiff that the use of the word “barred”
     renders Omni’s comparative negligence defense unclear in some manner, then, as
28   suggested by Plaintiff, Omni should be given leave to amend to clarify the defense.
                                                                   MEM. OF P. & A. IN OPP’N TO
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 1   statute of limitations, until the indemnitee pays a judgment or settlement that
 2   entitles it to indemnity. Valley Circle Estates v. VTN Consolidated, Inc., 33 Cal.
 3   3d 604, 608-15 (1983). Dismissal of Omni’s third party defense is therefore
 4   improper at this time.
 5                                              V.
 6                                      CONCLUSION
 7            For the reasons set forth above, the Court should deny Plaintiff’s motion for
 8   summary judgment.
 9
      Dated: July 6, 2020                         BEST BEST & KRIEGER LLP
10
11
                                                  By: /s/ Matthew L. Green
12                                                  ROBERT J. HANNA
                                                    MATTHEW L. GREEN
13                                                  WHITNEY R. BLACKHURST
                                                    Attorneys for Defendant
14                                                  OMNI HOTELS MANAGEMENT
                                                    CORPORATION
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                                  1   Allen Harvey Abolafia v. Omni Hotels Management Corp.
                                      United States District Court, So. District of CA, Case No. 19-cv-01923-W-KSC
                                  2
                                                                    PROOF OF SERVICE
                                  3         I, Lisa Atwood, declare:
                                  4         I am a citizen of the United States and employed in San Diego County,
                                      California. I am over the age of eighteen years and not a party to the within-entitled
                                  5
                                      action. My business address is 655 West Broadway, 15th Floor, San Diego,
                                  6   California 92101. On July 6, 2020, I served a copy of the within document(s):
                                  7       DEFENDANT OMNI HOTELS MANAGEMENT CORPORATION’S
                                  8       MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
                                          PLAINTIFF ALLEN HARVEY ABOLAFIA’S MOTION FOR SUMMARY
                                  9       JUDGMENT;

                                 10       DECLARATION OF MATTHEW L. GREEN IN OPPOSITION TO
                                          PLAINTIFF ALLEN HARVEY ABOLAFIA’S MOTION FOR SUMMARY
655 WEST BROADWAY, 15TH FLOOR




                                 11       JUDGMENT;
    BEST BEST & KRIEGER LLP

      SAN DIEGO, CA 92101




                                 12
        LAW OFFICES OF




                                          DECLARATION OF DUSTIN IRWIN IN OPPOSITION TO PLAINTIFF
                                 13       ALLEN HARVEY ABOLAFIA’S MOTION FOR SUMMARY
                                          JUDGMENT;
                                 14
                                          DECLARATION OF LINDA MITCHELL IN OPPOSITION TO
                                 15       PLAINTIFF ALLEN HARVEY ABOLAFIA’S MOTION FOR SUMMARY
                                          JUDGMENT;
                                 16

                                 17       REQUEST FOR JUDICIAL NOTICE IN OPPOSITION TO PLAINTIFF
                                          ALLEN HARVEY ABOLAFIA’S MOTION FOR SUMMARY
                                 18       JUDGMENT;

                                 19                 By Electronic Service. Pursuant to CM/ECF System, registration as a
                                 20                  CM/ECF user constitutes consent to electronic service through the
                                                     Court’s transmission facilities. The Court’s CM/ECF system sends an e-
                                 21                  mail notification of the filing to the parties and counsel of record who are
                                 22                  registered with the Court’s EC/ECF system.

                                 23              Robert J. Pecora, Esq.                  ATTORNEYS FOR PLAINTIFF
                                                 Law Office of Robert J. Pecora          ALLEN HARVEY ABOLAFIA
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                                                 La Jolla, California 92037              Tel: (858) 454-4014
                                 25                                                      Email: robertjpecora@aol.com
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                                                                                                          USDC, SOUTHERN DIST.
                                                                                   -1-                CASE NO. 18CV1836 DMS (LL)
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                                            I declare that I am employed in the office of a member of the bar of this court
                                      at whose direction the service was made.
                                  3
                                               Executed on July 6, 2020, at San Diego, California.
                                  4

                                  5
                                                                                                     /s/ Lisa Atwood

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                                 10
655 WEST BROADWAY, 15TH FLOOR




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    BEST BEST & KRIEGER LLP

      SAN DIEGO, CA 92101




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        LAW OFFICES OF




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